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   SERGENIAN LAW, A PROFESSIONAL CORPORATION
 1 David A. Sergenian (SBN 230174)
   2355 Westwood Blvd., #529
 2 Los Angeles, CA 90064
   Telephone: (213) 435-2035
 3 e-Mail: david@sergenianlaw.com
 4 KJC LAW GROUP, A.P.C.
   Kevin J. Cole (SBN 321555)
 5 9701 Wilshire Blvd., Suite 1000
   Beverly Hills, CA 90212
 6 Telephone: (310) 861-7797
   e-Mail: kevin@kjclawgroup.com
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   Attorneys for Counter-Defendant
 8 Tauler Smith LLP
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10
                         UNITED STATES DISTRICT COURT
11
                       SOUTHERN DISTRICT OF CALIFORNIA
12
     IN RE OUTLAW LABORATORIES,          Case No.: 18-cv-840-GPC-BGS
13
     LP LITIGATION
14                                       COUNTER-DEFENDANT TAULER
                                         SMITH LLP’S RESPONSE TO THE
15                                       COURT’S MARCH 29, 2021 ORDER
16                                       REGARDING THE REDACTION OF
                                         CERTAIN DOCUMENTS
17
18                                       Judge:     Hon. Gonzalo P. Curiel
                                         Courtroom: Courtroom 2D
19
20                                       Filed Concurrently:
                                            1. Declaration of Kevin J. Cole
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                                                        Case No. 18-cv-840-GPC-GBS
     TAULER SMITH LLP’S RESPONSE TO THE COURT’S MARCH 29, 2021 ORDER REGARDING
                       THE REDACTION OF CERTAIN DOCUMENTS
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 1          On March 19, 2021, in connection with the Parties’ Joint Statement re Contact
 2 Information of Certain Stores Identified in Counter-Defendant Tauler Smith LLP’s
 3 (“Tauler Smith”) Supplemental Interrogatory Responses (Dkt. No. 354), Tauler Smith filed
 4 the following documents under seal:
 5        Exhibit B: A document produced by Tauler Smith in discovery (earlier in this
 6          litigation), which is Bates-labeled TSLLP7630.
 7        Exhibit C: Tauler Smith’s Supplemental Responses to the Stores’ First Set of
 8          Interrogatory Requests.
 9        Exhibit D: A further supplemental response by Tauler Smith, identifying contact
10          information for the additional 34 stores listed in its January 29, 2021 supplemental
11          interrogatory response.
12 See Dkt. Nos. 355 (Tauler Smith’s Motion to File Documents Under Seal) & 356 (Tauler
13 Smith’s Notice of Lodging Documents Under Seal).
14          On March 29, 2021, this Court ordered Tauler Smith to file public redacted versions
15 of the three documents identified above. See Dkt. No. 358. Pursuant to that Order, Tauler
16 Smith is concurrently filing public redacted versions of Exhibits B – D (identified above).1
17 DATED: March 30, 2021                    Respectfully submitted,
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                                            KJC LAW GROUP, A.P.C.
19
                                      By:   /s/ Kevin J. Cole
20                                          Attorneys for Counter-Defendant
21                                          Tauler Smith LLP

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    Exhibit A to the Parties’ Joint Statement was filed publicly, not under seal. See
     1

28 Declaration of Kevin J. Cole, ¶ 3 n. 1 (citing Dkt. No. 354-1).
                                      1                 Case No. 18-cv-840-GPC-GBS
     TAULER SMITH LLP’S RESPONSE TO THE COURT’S MARCH 29, 2021 ORDER REGARDING
                       THE REDACTION OF CERTAIN DOCUMENTS
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 1                              CERTIFICATE OF SERVICE
 2        I hereby certify that I electronically filed, or caused to be filed, the foregoing with
 3 the Clerk of the Court for the United States District Court for the Southern District of
 4 California by using the CM/ECF system on March 30, 2021. I further certify that all
 5 participants in the case are registered CM/ECF users and that service will be accomplished
 6 by the CM/ECF system.
 7        I certify under penalty of perjury that the foregoing is true and correct. Executed on
 8 March 30, 2021.
                                           KJC LAW GROUP, A.P.C.
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                                    By:    /s/ Kevin J. Cole
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                                           Attorneys for Counter-Defendant
11                                         Tauler Smith LLP
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